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8
                           UNITED STATES DISTRICT COURT
9
                          NORTHERN DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                              Case No.
12               Plaintiff,
                                                   Complaint For Damages And
13       v.                                        Injunctive Relief For Violations
                                                   Of: Americans With Disabilities
14     T Rock Inc., a California                   Act; Unruh Civil Rights Act
       Corporation
15
                 Defendants.
16
17
18         Plaintiff Brian Whitaker complains of T Rock Inc., a California
19   Corporation; and alleges as follows:
20
21     PARTIES:
22     1. Plaintiff is a California resident with physical disabilities. He is
23   substantially limited in his ability to walk. He suffers from a C-4 spinal cord
24   injury. He is a quadriplegic. He uses a wheelchair for mobility.
25     2. Defendant T Rock Inc. owned Happy Lemon located at or about 919
26   Story Rd., San Jose, California, in December 2021.
27     3. Defendant T Rock Inc. owns Happy Lemon located at or about 919
28   Story Rd., San Jose, California, currently.


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1      4. Plaintiff does not know the true names of Defendants, their business
2    capacities, their ownership connection to the property and business, or their
3    relative responsibilities in causing the access violations herein complained of,
4    and alleges a joint venture and common enterprise by all such Defendants.
5    Plaintiff is informed and believes that each of the Defendants herein is
6    responsible in some capacity for the events herein alleged, or is a necessary
7    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
8    the true names, capacities, connections, and responsibilities of the Defendants
9    are ascertained.
10
11     JURISDICTION & VENUE:
12     5. The Court has subject matter jurisdiction over the action pursuant to 28
13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
15     6. Pursuant to supplemental jurisdiction, an attendant and related cause
16   of action, arising from the same nucleus of operative facts and arising out of
17   the same transactions, is also brought under California’s Unruh Civil Rights
18   Act, which act expressly incorporates the Americans with Disabilities Act.
19     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
20   founded on the fact that the real property which is the subject of this action is
21   located in this district and that Plaintiff's cause of action arose in this district.
22
23     FACTUAL ALLEGATIONS:
24     8. Plaintiff went to Happy Lemon in December 2021 with the intention to
25   avail himself of its goods or services motivated in part to determine if the
26   defendants comply with the disability access laws.
27     9. Happy Lemon is a facility open to the public, a place of public
28   accommodation, and a business establishment.


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1      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
2    to provide wheelchair accessible sales counters in conformance with the ADA
3    Standards as it relates to wheelchair users like the plaintiff.
4      11. Happy Lemon provides sales counters to its customers but fails to
5    provide wheelchair accessible sales counters.
6      12. A problem that plaintiff encountered was that the sales counter was too
7    high. While there was a lowered section, transactions take place at the higher
8    counter, which is located about 47 inches above the finish floor. The point-of-
9    sale machines were located on the higher counters. And the plaintiff
10   completed his transaction at the higher counter.
11     13. Plaintiff believes that there are other features of the sales counters that
12   likely fail to comply with the ADA Standards and seeks to have fully compliant
13   sales counters for wheelchair users.
14     14. On information and belief, the defendants currently fail to provide
15   wheelchair accessible sales counters.
16     15. Additionally, on the date of the plaintiff’s visit, the defendants failed to
17   provide wheelchair accessible outside dining surfaces in conformance with the
18   ADA Standards as it relates to wheelchair users like the plaintiff.
19     16. Happy Lemon provides dining surfaces to its customers but fails to
20   provide wheelchair accessible outside dining surfaces.
21     17. One problem that plaintiff encountered is the lack of sufficient knee or
22   toe clearance under the outside dining surfaces for wheelchair users.
23     18. Plaintiff believes that there are other features of the dining surfaces that
24   likely fail to comply with the ADA Standards and seeks to have fully compliant
25   dining surfaces for wheelchair users.
26     19. On information and belief, the defendants currently fail to provide
27   wheelchair accessible dining surfaces.
28     20. The failure to provide accessible facilities created difficulty and


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1    discomfort for the Plaintiff.
2      21. These barriers relate to and impact the plaintiff’s disability. Plaintiff
3    personally encountered these barriers.
4      22. As a wheelchair user, the plaintiff benefits from and is entitled to use
5    wheelchair accessible facilities. By failing to provide accessible facilities, the
6    defendants denied the plaintiff full and equal access.
7      23. The defendants have failed to maintain in working and useable
8    conditions those features required to provide ready access to persons with
9    disabilities.
10     24. The barriers identified above are easily removed without much
11   difficulty or expense. They are the types of barriers identified by the
12   Department of Justice as presumably readily achievable to remove and, in fact,
13   these barriers are readily achievable to remove. Moreover, there are numerous
14   alternative accommodations that could be made to provide a greater level of
15   access if complete removal were not achievable.
16     25. Plaintiff will return to Happy Lemon to avail himself of its goods or
17   services and to determine compliance with the disability access laws once it is
18   represented to him that Happy Lemon and its facilities are accessible. Plaintiff
19   is currently deterred from doing so because of his knowledge of the existing
20   barriers and his uncertainty about the existence of yet other barriers on the
21   site. If the barriers are not removed, the plaintiff will face unlawful and
22   discriminatory barriers again.
23     26. Given the obvious and blatant nature of the barriers and violations
24   alleged herein, the plaintiff alleges, on information and belief, that there are
25   other violations and barriers on the site that relate to his disability. Plaintiff will
26   amend the complaint, to provide proper notice regarding the scope of this
27   lawsuit, once he conducts a site inspection. However, please be on notice that
28   the plaintiff seeks to have all barriers related to his disability remedied. See


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1    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
2    encounters one barrier at a site, he can sue to have all barriers that relate to his
3    disability removed regardless of whether he personally encountered them).
4
5    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
6    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
7    Defendants.) (42 U.S.C. section 12101, et seq.)
8      27. Plaintiff re-pleads and incorporates by reference, as if fully set forth
9    again herein, the allegations contained in all prior paragraphs of this
10   complaint.
11     28. Under the ADA, it is an act of discrimination to fail to ensure that the
12   privileges, advantages, accommodations, facilities, goods and services of any
13   place of public accommodation is offered on a full and equal basis by anyone
14   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
15   § 12182(a). Discrimination is defined, inter alia, as follows:
16            a. A failure to make reasonable modifications in policies, practices,
17                or procedures, when such modifications are necessary to afford
18                goods,     services,   facilities,   privileges,    advantages,     or
19                accommodations to individuals with disabilities, unless the
20                accommodation would work a fundamental alteration of those
21                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
22            b. A failure to remove architectural barriers where such removal is
23                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
24                defined by reference to the ADA Standards.
25            c. A failure to make alterations in such a manner that, to the
26                maximum extent feasible, the altered portions of the facility are
27                readily accessible to and usable by individuals with disabilities,
28                including individuals who use wheelchairs or to ensure that, to the


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1                 maximum extent feasible, the path of travel to the altered area and
2                 the bathrooms, telephones, and drinking fountains serving the
3                 altered area, are readily accessible to and usable by individuals
4                 with disabilities. 42 U.S.C. § 12183(a)(2).
5      29. When a business provides sales counters, it must provide accessible
6    sales counters.
7      30. Here, accessible sales counters have not been provided in conformance
8    with the ADA Standards.
9      31. When a business provides dining surfaces, it must provide accessible
10   dining surfaces.
11     32. Here, accessible dining surfaces have not been provided in
12   conformance with the ADA Standards.
13     33. The Safe Harbor provisions of the 2010 Standards are not applicable
14   here because the conditions challenged in this lawsuit do not comply with the
15   1991 Standards.
16     34. A public accommodation must maintain in operable working condition
17   those features of its facilities and equipment that are required to be readily
18   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
19     35. Here, the failure to ensure that the accessible facilities were available
20   and ready to be used by the plaintiff is a violation of the law.
21
22   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
23   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
24   Code § 51-53.)
25     36. Plaintiff repleads and incorporates by reference, as if fully set forth
26   again herein, the allegations contained in all prior paragraphs of this
27   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
28   that persons with disabilities are entitled to full and equal accommodations,


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1    advantages, facilities, privileges, or services in all business establishment of
2    every kind whatsoever within the jurisdiction of the State of California. Cal.
3    Civ. Code §51(b).
4       37. The Unruh Act provides that a violation of the ADA is a violation of the
5    Unruh Act. Cal. Civ. Code, § 51(f).
6       38. Defendants’ acts and omissions, as herein alleged, have violated the
7    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
8    rights to full and equal use of the accommodations, advantages, facilities,
9    privileges, or services offered.
10      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
11   discomfort or embarrassment for the plaintiff, the defendants are also each
12   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
13   (c).)
14
15             PRAYER:
16             Wherefore, Plaintiff prays that this Court award damages and provide
17   relief as follows:
18           1. For injunctive relief, compelling Defendants to comply with the
19   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
20   plaintiff is not invoking section 55 of the California Civil Code and is not
21   seeking injunctive relief under the Disabled Persons Act at all.
22           2. For equitable nominal damages for violation of the ADA. See
23   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
24   and any other equitable relief the Court sees fit to grant.
25           3. Damages under the Unruh Civil Rights Act, which provides for actual
26   damages and a statutory minimum of $4,000 for each offense.
27           4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
28   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.


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     Dated: January 7, 2021            CENTER FOR DISABILITY ACCESS
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2
                                       By: ______________________
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                                              Amanda Seabock, Esq.
4                                             Attorney for plaintiff
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